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 4
 5   Attorneys for Defendant,
     JONATHAN AUSTIN
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 9                 IN THE UNITED STATES DISTRICT COURT FOR THE
10                        EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                   Case No.: 2:11-CR-276 JAM
13                Plaintiff,                     STIPULATION AND ORDER
                                                 CONTINUING SENTENCING HEARING
14          vs.
15   JONATHAN AUSTIN,
16                Defendant.
17
18          The United States of America, through its counsel Assistant
19   U. S. Attorney Jason S. Hitt, and defendant Jonathan Austin,
20   through his counsel Clyde M. Blackmon, stipulate that the
21   sentencing hearing in this matter now scheduled for February 25,
22   2014, at 9:45 a.m., may be continued to April 1, 2014, at 9:45
23   a.m.
24          A continuance of the sentencing hearing is necessary
25   because, while Mr. Austin’s case has been resolved by way of a
26   guilty plea, the charges against some other defendants in the
27   case, or related cases, are still pending and information
28   pertaining to the resolution of the charges against those


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 1   defendants may be helpful to the Court in fashioning a sentence
 2   for Mr. Austin.    Therefore, the parties request that the
 3   sentencing hearing for Mr. Austin be continued to April 1, 2014,
 4   at 9:45 a.m.
 5        IT IS SO STIPULATED.
 6   DATED:   February 13, 2014        By: /s/ Clyde M. Blackmon for__
                                               Jason S. Hitt
 7                                             Assistant U.S. Attorney
 8
     DATED:   February 13, 2014        By:_/s/ Clyde M. Blackmon___
 9                                             CLYDE M. BLACKMON,
                                               ROTHSCHILD WISHEK & SANDS
10                                             LLP, Attorneys for
11                                             Defendant JONATHAN AUSTIN

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                 STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
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 1                                     ORDER
 2        Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the hearing regarding the imposition of
 4   judgment and sentence upon Jonathan Austin now scheduled for
 5   February 25, 2014, is continued to 9:45 a.m. on April 1, 2014.
 6        IT IS SO ORDERED:
 7   DATED:   2/13/2014                /s/ John A. Mendez________________
                                       JOHN A. MENDEZ
 8                                     United States District Court Judge
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                 STIPULATION AND [PROPOSED] ORDER CONTINUING SENTENCING
